    Case: 1:11-cv-08741 Document #: 16 Filed: 03/21/12 Page 1 of 4 PageID #:39




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LEWIS BALL,                      )
                                 )
          Plaintiff,             )                   Case No. 11 CV 8741
                                 )
     v.                          )                   Judge Dow
                                 )
CHICAGO POLICE OFFICERS          )                   Magistrate Judge Gilbert
JUDITH CORTES (STAR NO. 18690), )
MARCUS DUNCAN (STAR NO. 15296), )                    JURY DEMAND
JOHN THILL (STAR NO. 18988),     )
HUGO SALGADO (STAR NO. 4391),    )
KEVIN STAPLETON (STAR NO. 4431), )
INDIVIDUALLY, AND                )
CITY OF CHICAGO,                 )
                                 )
          Defendants,            )

                         FIRST AMENDED COMPLAINT AT LAW

       NOW COMES the Plaintiff, LEWIS BALL, by and through his attorney, Gregory E.

Kulis, and complaining against the Defendants, CHICAGO POLICE OFFICERS JUDITH

CORTES, MARCUS DUNCAN, JOHN THILL, HUGO SALGADO and KEVIN STAPLETON,

Individually, and the CITY OF CHICAGO, as follows:

                            COUNT I: §1983 EXCESSIVE FORCE

  AGAINST CHICAGO POLICE OFFICERS JUDITH CORTES, MARCUS DUNCAN,
           JOHN THILL, HUGO SALGADO and KEVIN STAPLETON

       1.      This action is brought pursuant the laws of the United States Constitution,

specifically, 42 U.S.C. §1983 and §1988, and the laws of the State of Illinois, to redress

deprivations of the civil rights of the Plaintiff, LEWIS BALL, and accomplished by acts and/or

omissions of the Defendants, CHICAGO POLICE OFFICERS JUDITH CORTES, MARCUS




                                            Page 1 of 4
    Case: 1:11-cv-08741 Document #: 16 Filed: 03/21/12 Page 2 of 4 PageID #:40




DUNCAN, JOHN THILL, HUGO SALGADO and KEVIN STAPLETON, (“Defendant

Officers”), individually, committed under color of law.

        2.      Jurisdiction is based on Title 28 U.S.C. §§1331 and 1343 and the Court’s

supplemental jurisdiction of the State of Illinois.

        3.      The Plaintiff, LEWIS BALL, was at all relevant times a resident of Chicago,

Illinois.

        4.      CHICAGO POLICE OFFICER JUDITH CORTES was at all relevant times, a

duly appointed Chicago Police Officer acting within the scope of his employment and under

color of law.

        5.      CHICAGO POLICE OFFICER MARCUS DUNCAN was at all relevant times, a

duly appointed Chicago Police Officer acting within the scope of his employment and under

color of law.

        6.      CHICAGO POLICE OFFICER JOHN THILL was at all relevant times, a duly

appointed Chicago Police Officer acting within the scope of his employment and under color of

law.

        7.      CHICAGO POLICE OFFICER HUGO SALGADO was at all relevant times, a

duly appointed Chicago Police Officer acting within the scope of his employment and under

color of law.

        8.      CHICAGO POLICE OFFICER KEVIN STAPLETON was at all relevant times, a

duly appointed Chicago Police Officer acting within the scope of his employment and under

color of law.

        9.      On or about December 29, 2009, the Plaintiff was driving on the 5600 Block of

South Calumet, Chicago, Illinois




                                             Page 2 of 4
    Case: 1:11-cv-08741 Document #: 16 Filed: 03/21/12 Page 3 of 4 PageID #:41




        10.     Without just cause or just provocation, the Defendant Officers shot the Plaintiff

numerous times.

        11.     Said use of deadly force was excessive and unreasonable.

        12.     The actions of the Defendant Officers were intentional, willful and wanton.

        13.     As a result of the actions of the Defendant Officers, the Plaintiff was seriously

injured.

        14.     Said actions of the Defendant Officers were in violation of the Plaintiff’s Fourth

and Fourteenth Amendment rights as protected by 42 U.S.C. §1983.

        15.     As a result of said actions of the Defendant Officers, the Plaintiff has incurred and

will continue to incur pain, suffering, permanent injury and loss of enjoyment of life.

        Wherefore the Plaintiff, LEWIS BALL, prays for judgment against the Defendants,

CHICAGO POLICE OFFICERS JUDITH CORTES, MARCUS DUNCAN, JOHN THILL,

HUGO SALGADO and KEVIN STAPLETON, for compensatory damages, punitive damages,

attorney’s fees, and costs.

                               COUNT II: INDEMNIFICATION

                                AGAINST CITY OF CHICAGO

        16.     The Plaintiff, LEWIS BALL, hereby realleges and incorporates the allegations of

paragraphs 1-15 of Count I as his respective allegations of paragraph 16 of Count II as though

fully set forth herein.

        17.     Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.




                                             Page 3 of 4
   Case: 1:11-cv-08741 Document #: 16 Filed: 03/21/12 Page 4 of 4 PageID #:42




       18.    At all times, the Defendants, CHICAGO POLICE OFFICERS JUDITH CORTES,

MARCUS DUNCAN, JOHN THILL, HUGO SALGADO and KEVIN STAPLETON were

police officers employed with the CITY OF CHICAGO who acted within the scope of their

employment in committing the misconduct described herein.

       WHEREFORE, should any one or more of the Defendant Officers be found liable for the

acts alleged above, Defendant CITY OF CHICAGO Would be liable to pay the Plaintiff any

judgment obtained against any one or more of the Defendant Officers.



                                      JURY DEMAND

       The Plaintiff, LEWIS BALL, hereby requests trial by jury.

                                           Respectfully submitted,


                                           LEWIS BALL


                                           By: /s/ David S. Lipschultz

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                                         Page 4 of 4
